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                              EXHIBIT A

         Dates of Plaintiff Atlas Master Fund, Ltd.'s Purchases of
              ARCP Common Stock Security-Based Swaps:


                                9/17/14
                                9/18/14
                                9/24/14
                                9/25/14
                                9/30/14
                                10/01/14
                                10/02/14
                                10/03/14
                                10/06/14
                                10/07/14
                                10/08/14
                                10/09/14
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                                10/23/14
                                10/24/14
                                10/27/14
                                10/28/14
                                10/29/14




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